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                                                                                    February 6, 2020
Via ECF

Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl St., Room 1910
New York, NY 10007-1312

Re:    American Immigration Council v. Executive Office for Immigration Review,
       No. 19-cv-1835-DLC

Dear Judge Cote,

The parties to this Freedom of Information Act (FOIA) action, Plaintiffs American Immigration
Council (Council) and Kathryn O. Greenberg Immigration Justice Clinic of the Benjamin N.
Cardozo School of Law (Clinic) and Defendants Executive Office for Immigration Review (EOIR)
and U.S. Department of Justice (DOJ) submit this joint status letter pursuant to the Court’s January
13, 2020 Order [Dkt. 57].

As noted in their joint status letter dated January 10, 2020, the parties are working to reach an
agreement regarding attorney fees in an effort to avoid further litigation in this matter. To that end,
the parties have been in communication and Plaintiffs submitted a fee demand to Defendants on
January 24, 2020. On January 28, 2020, the parties conferred, and Defendants requested that
Plaintiffs provide further detail regarding the time for which Plaintiffs are seeking fees. The parties
continue to engage in good faith negotiations and hope that they will be able to resolve this matter
without the need for this Court’s intervention. However, doing so will require additional time, as
negotiations are ongoing.

Accordingly, the parties respectfully request that the Court grant their present request to submit
another joint status letter on March 30, 2020.

Respectfully,

s/ Claudia Valenzuela
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Attorney for Plaintiffs

cc: Joshua Kahane, Assistant United States Attorney, Counsel of Record for Defendants (via ECF)
